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                IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE DISTRICT OF DELAWARE
__________________________________________
                                           )
In re:                                     ) Chapter 11
                                           )
W.R. GRACE & CO., et al.                   ) Case No. 01-1139 (JKF)
                                           )
                  Debtors.                 )
__________________________________________)

                                        VERIFICATION

STATE OF MISSOURI

COUNTY OF ST. LOUIS, TO WIT:



       Jennifer L. Biggs, after being duly sworn according to law, deposes and says:

        1.     I am an actuarial consultant of the applicant consulting firm Towers Perrin
Tillinghast.

       2.      I am familiar with the services rendered by Towers Perrin Tillinghast, actuarial
consultants to David T. Austern as Asbestos PI Future Claimants’ Representative (“FCR”). The
work performed on behalf of the FCR by professionals of the firm is described in the attached
invoices.

        3.      I have reviewed the Application and the facts set forth therein are true and correct
to the best of my knowledge, information and belief. I have reviewed the requirements of Local
Rule 2016-2 and the Administrative Order as Amended dated July 17, 2002, and I believe the
Application to be in compliance therewith.



                                              /S/ JENNIFER L. BIGGS
                                              JENNIFER L. BIGGS

SWORN AND SUBSCRIBED TO BEFORE ME

THIS 5TH DAY OF OCTOBER, 2009

/S/ TONI R. BOWMAN
Notary Public

My commission expires: June 21, 2011
